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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:09CR287
                              )
          v.                  )
                              )
YER YANG,                     )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue trial (Filing No. 65).         To accommodate attorneys and

witnesses in this matter,

          IT IS ORDERED that retrial of this matter is

rescheduled for:

                Thursday, June 28, 2010, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

April 28, 2010, and June 28, 2010, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 23rd day of April, 2010.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ___________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




                                      -2-
